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 1   Counsel Listed on Signature Page
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12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
13                                  SAN JOSE DIVISION
14   FEDERAL TRADE COMMISSION,                   Case No. 5:17-cv-00220-LHK-NMC

15                        Plaintiff,             JOINT CASE MANAGEMENT
                   vs.                           STATEMENT
16
     QUALCOMM INCORPORATED, a Delaware
                                                 DATE:    June 13, 2018
17   corporation,
                                                 TIME:    2:00 p.m.
18                        Defendant.             CTRM:    Courtroom 8
                                                 JUDGE:   Hon. Lucy H. Koh
19   IN RE QUALCOMM ANTITRUST
     LITIGATION                                  Case No. 5:17-MD-02773-LHK-NMC
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                                                           JOINT CASE MANAGEMENT STATEMENT
                                                             Case No. 5:17-cv-00220-LHK-NMC
                                                                  and 5:17-md-02773-LHK-NMC
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 1             Pursuant to the Court’s May 1, 2018 Order Continuing Further Case Management

 2   Conference (MDL ECF No. 445), Plaintiff Federal Trade Commission (the “FTC”) and the MDL

 3   Plaintiffs (collectively, “Plaintiffs”) and Defendant Qualcomm Incorporated (“Qualcomm”)

 4   (collectively, the “Parties”) have met and conferred and hereby submit this Joint Case

 5   Management Statement.

 6   I.        MOTIONS

 7             Since filing the April 30, 2018 Joint Case Management Statement (MDL ECF No. 444),

 8   the MDL Plaintiffs have filed a Joint Discovery Statement with third parties Brightpoint North

 9   America, LLC, as well as a Discovery Statement in regard to Synnex Corporation, seeking to

10   compel document production from those third parties in response to the MDL Plaintiffs’

11   subpoenas. (MDL ECF Nos. 450, 455.) Magistrate Judge Cousins has scheduled a hearing to

12   address these Discovery Statements on May 24, 2018. (MDL ECF No. 477.)

13             Judge Cousins has also scheduled the following matters to be heard on May 24, 2018

14   (FTC ECF No. 749), all of which were filed on May 18, 2018:

15            Qualcomm and the MDL Plaintiffs filed a Joint Discovery Statement regarding certain of
               their respective interrogatory responses and Qualcomm’s provision of certain additional
16             testimony and written answers in response to Topics 1, 2, 8, and 11 of the MDL Plaintiffs’
               30(b)(6) Notice. (MDL ECF No. 469.) The Joint Discovery Statement memorializes the
17             resolution of a number of issues regarding these discovery requests, and sets forth one
               dispute with respect to Qualcomm’s response to the MDL Plaintiffs’ Interrogatory No. 20.
18
              The MDL Plaintiffs filed Discovery Statements regarding their requests for the production
19             of additional documents and data from certain databases and other shared sources of
               information. (MDL ECF Nos. 467, 468.) Qualcomm filed responses on May 22, 2018.
20             (MDL ECF Nos. 473, 474.) Qualcomm and the MDL Plaintiffs expect to resolve or, at
               least, narrow these issues through further meet and confer discussions. However, in light
21             of the May 18, 2018 deadline for motions to compel fact discovery, MDL Plaintiffs filed
               Discovery Statements regarding the open issues.
22
              Qualcomm and the FTC submitted Joint Discovery Statements regarding two of their
23             respective interrogatory responses. (FTC ECF Nos. 742, 743.) The FTC seeks additional
               information regarding Qualcomm’s response to FTC Interrogatory No. 4 (concerning the
24             measures that support Qualcomm’s contentions regarding the breadth, quality, and value
               of its cellular patent portfolio). Qualcomm seeks additional information from the FTC
25             regarding the FTC’s response to Qualcomm Interrogatory No. 19 (relating to application
               of any price-cost-test analysis to Qualcomm’s agreements with Apple).
26
              Pursuant to Judge Cousins’s May 4, 2018 Order (FTC ECF No. 724), Qualcomm and non-
27             party Apple, Inc. filed a Joint Status Report regarding Apple’s production of documents
               and assertions of privilege.
28

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 1           On May 2, 2018, the FTC submitted a Motion for Relief from a decision of Magistrate

 2   Judge Cousins regarding Qualcomm’s assertion of privilege over internal patent ratings

 3   Qualcomm maintains. The Court denied that motion on May 22, 2018. (See FTC ECF No. 750.)

 4   II.     PARTY DISCOVERY

 5           A.     Written Discovery

 6           The Parties have not served any new requests for written discovery since the April 30

 7   Joint Case Management Statement (MDL ECF No. 444).            The Parties do not have any open

 8   issues concerning written discovery beyond those referenced in Part I above.

 9           B.     Document Discovery Issues

10           Qualcomm continues the process of re-reviewing documents pursuant to Judge Cousins’s

11   April 4, 2018 Order Regarding Privilege Re-Review for Qualcomm and Apple (MDL ECF

12   No. 427). Qualcomm completed its review of documents involving Mr. Aberle by the Court-

13   ordered deadline of May 2, 2018 and completed its review of documents involving Mr. Altman

14   by the Court-ordered deadline of May 15, 2018. Qualcomm estimates that, as of May 15, 2018, it

15   completed re-review of a total of 77,000 redacted or withheld documents, and that approximately

16   33,000 documents remain to be re-reviewed by July 1, 2018. As a result of this re-review

17   process, Qualcomm has produced 15,667 documents (either in redacted form or without

18   redactions) that had previously been withheld as privileged, and has reduced or eliminated

19   redactions on 8,934 previously redacted documents. Some of the previously withheld or redacted

20   content had already been produced in other documents before the re-review productions.

21           FTC’s Statement

22           On May 21, Qualcomm’s counsel informed the FTC via email that it had come to their

23   attention “late last week” “that the chipset-level data used by QCT in the ordinary course for

24   fiscal year 2017 … contains imprecise assumptions ….” According to Qualcomm’s counsel,

25   “[o]ur client has been working over the weekend to correct any issues.” On May 22, Qualcomm

26   produced a new version of its 2017 chipset level data. In response to questions from the FTC,

27   Qualcomm’s counsel admitted that “[u]pon investigation, we’ve learned that Qualcomm noticed

28   the same inconsistency” prior to late last week.

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 1           The FTC’s experts did not have the opportunity to review the revised 2017 data prior to

 2   finalizing the analyses in their reports. The parties continue to meet and confer regarding the

 3   newly produced 2017 chipset data.

 4           Qualcomm’s Statement:

 5           Qualcomm previously produced chipset data for fiscal years 2010-2017 that it used in the

 6   ordinary course. Beginning in fiscal year 2017 (which began in late September 2016), the finance

 7   team in Qualcomm’s chip division changed certain of the assumptions used in organizing the data

 8   from the assumptions used for fiscal years 2010-2016. In response to Plaintiffs’ requests in the

 9   litigation, Qualcomm produced the data for fiscal years 2010-2016 and for fiscal year 2017 as it

10   was maintained in the ordinary course of business. Nevertheless, to ensure that consistent data

11   for fiscal year 2017 is available in this litigation, Qualcomm created a new version of the 2017

12   data that is consistent with the assumptions used in chipset data Qualcomm produced for fiscal

13   years 2010-2016. Qualcomm alerted the FTC to the inconsistency in the assumptions underlying

14   the 2010-2016 and the 2017 datasets on May 21, and has produced the new dataset on May 22,

15   2017. In response to questions from the FTC, Qualcomm promptly provided the FTC with

16   further explanation of the different assumptions underlying the two datasets.         Qualcomm

17   produced the new 2017 dataset as soon as it was created and without delay. Qualcomm will

18   continue to meet and confer, as necessary, regarding the data.

19           C.     Party Depositions

20            1. Individual Depositions

21           Almost all depositions of current or former Qualcomm employees have concluded. The

22   sole exception is Jeffrey Altman, with respect to whom the Court approved an out-of-time

23   deposition (ECF No. 580). Mr. Altman’s deposition has been scheduled for May 31 and June 1,

24   2018.

25           The Parties will meet and confer regarding re-opening of depositions following the

26   completion of Qualcomm’s privilege re-review.

27            2. Rule 30(b)(6) Depositions

28           As set forth in Part I above, Qualcomm and the MDL Plaintiffs met and conferred

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 1   regarding MDL Plaintiffs’ 30(b)(6) Topics 1, 2, 8 and 11. In response to the MDL Plaintiffs’

 2   written questions, Qualcomm agreed to provide written responses, plus limited deposition time as

 3   to certain portions of Topic 2. The deposition has been scheduled for May 31, 2018.

 4           The FTC has completed its 30(b)(6) deposition of Qualcomm.

 5   III.    THIRD-PARTY DISCOVERY

 6           A.     Document Production

 7           The vast majority of third parties subpoenaed have completed their document productions

 8   in this case. Certain third parties are still producing small volumes of documents.

 9           As stated above, MDL Plaintiffs have filed discovery statements seeking to compel

10   production of certain data from third parties Brightpoint North America, LLC, a subsidiary of

11   Ingram Micro Inc., and Synnex Corporation (MDL ECF Nos. 450, 455). As also stated above, on

12   May 18, 2018, Qualcomm and Apple, Inc. filed a joint status report with Judge Cousins.

13           B.     Depositions

14           The Parties concluded depositions of third-party witnesses on April 20.

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 1   Dated: May 22, 2018
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 2

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 1                                      FILER’S ATTESTATION

 2           I, Gary A. Bornstein, am the ECF user whose identification and password are being used

 3   to file this Joint Case Management Statement. In compliance with Civil Local Rule 5-1(i)(3), I

 4   hereby attest that the signatories on this document have concurred in this filing.

 5

 6                                                            /s/ Gary A. Bornstein
                                                                Gary A. Bornstein
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